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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

UNITED STATES OF AMERICA,                        :
                                                 :          Case No. 2:15-CR-080
               Plaintiff,                        :          Case No. 2:14-CR-127
                                                 :
       v.                                        :          Judge Algenon L. Marbley
                                                 :
ROBERT B. LEDBETTER, et al.                      :
                                                 :
               Defendants.                       :

                                            ORDER

       This matter comes before the Court on Defendant Lance Reynolds’s motions to join his

co-defendants’ pleadings. (Docs. 687 and 690). Reynolds seeks dismissal of various charges

due to alleged violations of the relevant statutes of limitation and alleged Due Process violations

stemming from undue pre-indictment delay.

       In its August 12, 2015 Opinion and Order, the Court denied the very motions in which

Reynolds now seeks to join. (Doc. 682). This Court will allow Reynolds to join in those

motions, nunc pro tunc, and advance the same arguments as his co-defendants. For the reasons

stated in the Opinion and Order, however, those arguments are without merit, rendering

Reynolds’s motions MOOT.

       IT IS SO ORDERED.


                                               s/ Algenon L. Marbley
                                             ALGENON L. MARBLEY
                                             UNITED STATES DISTRICT JUDGE

DATED: August 19, 2015




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